Case 8:17-cv-01675-JVS-JDE Document 56 Filed 06/07/22 Page 1 of 3 Page ID #:811




 1

 2

 3

 4

 5

 6

 7

 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
     CHINA SHENYANG HONGQIAO OIL              CASE NO.:
11   PRODUCTION CO., Ltd;                     SACV17-01675JVS (JDEx)
     YONGSHENG ZHANG; and GUOJIE              Action Filed:
12   LU,
13                      Plaintiffs,           AMENDED JUDGMENT
                                              GRANTING IN PART AND
14   v.                                       DENYING IN PART PLAINTIFF’S
                                              APPLICATION FOR DEFAULT
15   ATLANTIC VENTURES LLC,                   JUDGMENT
     D2HEALTHCOACH, LLC, CTCI, LLC;
16   CAERVISION TECHNOLOGY
     CENTER INC.; CAERVISION GROUP,
17   INC.; CAERVISION CORPORATION,
     CAERVISION; JACK ZHANG; and
18   JULIET HONG ZHANG, aka JULIET
     LUO, aka JULIET ZHANG,
19
                        Defendant
20

21

22        The Application for Entry of Default Judgment against ATLANTIC VENTURES
23   LLC, D2HEALTHCOACH, LLC, CTCI, LLC; CAERVISION TECHNOLOGY
24   CENTER INC.; CAERVISION GROUP, INC.; CAERVISION CORPORATION,
25   CAERVISION; JACK ZHANG; and JULIET HONG ZHANG, aka JULIET LUO, aka
26   JULIET ZHANG (“Defendants”) (the “Application”) filed by Plaintiffs CHINA
27   SHENYANG HONGQIAO OIL PRODUCTION CO., Ltd; YONGSHENG ZHANG;

28   and GUOJIE LU’s (“Plaintiffs”) came on for hearing on August 13, 2018 and
                                          1
                                  AMENDED JUDGMENT
Case 8:17-cv-01675-JVS-JDE Document 56 Filed 06/07/22 Page 2 of 3 Page ID #:812




 1   subsequently on September 13, 2018, after supplemental briefing.
 2         After full consideration of Plaintiffs’ moving papers, including supporting
 3   declarations and exhibits thereto, the well-pleaded allegations of the Complaint and all
 4   other matters presented to the Court:

 5
           IT IS HEREBY ORDERED THAT Judgment shall enter as follows:
 6

 7
        1. Breach of Contract. CTCI, Caervision, Caervision Technology Center, Inc,
 8
           Atlantic and Jack Zhang and Juliet Hong Zhang, aka Juliet Luo, aka Juliet Zhang,
 9
           as alter egos of the Caervision Defendants, were in breach of contract as Atlantic
10
           breached the L-1 Agreement for commingling Zhang’s funds. As the prevailing
11
           party, Plaintiffs are awarded compensatory contract damages of $566,000 and
12
           prejudgment interest in the amount of $72,416.99.
13
        2. CTCI, Caervision Technology Center Inc., and Caervision breached the Joint
14         Venture agreement for commingling Plaintiffs’ funds, failure to obtain a green
15         card for Mr. Zhang, or refund monies. Jack Zhang and Juliet Hong Zhang, aka
16         Juliet Luo, aka Juliet Zhang are the alter egos of the Caervision Defendants.
17         D2Healthcoach, Caervision Group, Inc. or Carevision Corporation are not the
18         alter egos of each other.
19      3. Fraud. The Court finds an independent harm of loss of benefits under the
20         government investment program and a fraudulent inducement to shift
21         investments from EB-5 Agreement to an EBC-1 Agreement. The Court finds the
22         defendants’ fraud in the inducement is an exception to the economic loss rule.

23         Plaintiffs are awarded punitive damages on the fraud claim in the amount of
           $1,698,000.00.
24
        4. Common Counts for Money Had and Received. The court finds Plaintiffs have
25
           adequately alleged an action for money had and received but no additional
26
           damages are awarded.
27
        5. Breach of Covenant of Good Faith and Fair Dealing. Defendants breached the
28
                                               2
                                       AMENDED JUDGMENT
Case 8:17-cv-01675-JVS-JDE Document 56 Filed 06/07/22 Page 3 of 3 Page ID #:813




 1         covenant of good faith and fair dealing. No additional damages are awarded for
 2         this claim.
 3     6. Plaintiffs are entitled to costs pursuant to Federal Rule of Civil Procedure
 4         54(d)(1)

 5
       7. Plaintiffs’ Application for Default Judgment is GRANTED as set forth
           hereinabove.
 6

 7
     IT IS SO ORDERED
 8

 9
     Dated: June 07, 2022                 _____________________________
10                                                  Honorable James V. Selna
11                                                  United States District Judge

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                           3
                                   AMENDED JUDGMENT
